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UNlTED STATES DlSTRlCT COURT
S()UTHERN DlSTRICT ()F NEW YORK

 

 

 

 

 

...................................................................... X
MAL|BU MED|A, LLC, z
Plaintiff(s),
17 Civ. 9135 (KBF)
-V- l
JoHN DoE subscriber u> address 209.122.119.157 3 SCHEDULING ()RDER
Defendant(s). :
______________________________________________________________________ X

KATHERINE B. FORREST, District Judge:

The parties propose the following schedule for this matter:

1.

CII

All parties [do I:| / do not -] consent to conducting all further
proceedings before a United States Magistrate Judge, including motions and
trial. 28 U.S.C. § 636(c). The parties are free to Withhold consent Without
adverse substantive consequences1

Arnended pleadings may not be filed, and no party may be joined, Without
leave of Court more than 20 days after the filing of this Order or the filing of
a responsive pleading, Whichever occurs first.

Close of fact discovery: July 13, 2018 . [within 4 months unless the
case is particularly complex]

Close of expert discovery: AuQqu 71 2013 . [25 days after the close of
fact discovery; the parties are to negotiate interim dates regarding
expert Witnesses]

The parties contemplate experts in this matter for the following subject(s):
liability, and damages

 

[For F.L.s.A. actions enly] Piainaff<$> [do E /do not [:] 1 anticipate
making a motion for conditional certification of a collective action under 29
U.S.C. § Ql(i(b). Plaintiff(s) shall include a proposed notice With the opening
brief.

 

1 If all parties so consent, they should execute a consent form (available at litt ://www.n sd.uscourts.

 

aov/l`ile/forms/conscnt-to-proceed-before-us-maaistrate-iud£z'c) and submit it to the Court via e-mail,
along With this proposed order.

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Section 216(b) proposed briefing schedule:

Opening: [30 days after initial conference]
Opp’n: [21 days after opening brief]
Reply: [7 days after opposition brief']

6. ’l`he parties [do / do not ] anticipate making dispositive motions

The contemplated dispositive motion(s) is/are a motion(s)
Summary Judgment

 

Proi:)osed briefing schedule:

Opening: July13,2018 [no later than item 3]
()pp’n: AUQUSW» 2018 [21 days after opening brief]
Reply: /\UQUSt 10, 2018 [7 days after opposition brief]

Last dates to file,' motions may be brought at any time
7. Trial [Will- / Will not i:| ] be before a jury.2
D() NOT FILL IN BELOW. THE COURT WILL SET ITEMS 7-10.
8. 'l`he next status conference is set for at

9. Pretrial materials, including the Joint Pretrial Order (“JPTO”), are due:

 

],(). The Final Pretrial Conference (“FP'I`C”) is set for at

Motions in limine are due two weeks before FP']`C; oppositions are due one
week later. Daubert motions are due four weeks before FP'I`C; oppositions
are due two weeks later. (No replies.)3

ll.Trial in this matter shall commence on MafCh 2019 . Trial is anticipated
to take 4 [days / Weeks].

Settlernent discussions must occur in parallel to this schedule
(schedule will not be adiourned. except in verv unusual situations,
for settlement discussions).

S() ORDERED.
Dated: New York, New York
, 2018

 

KATHERINE B. FORREST
United States District Judge

 

3 Chccking this box does not constitute a formal jury demand under Fed. R. Civ. P. 38(1)). lt serves a purely
administrative t`unction.

3 Deadlines for motions in limine and Daubert motions are generalized and subject to change The
parties may request modified schedule if desired.

